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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   LUIS GARCIA-MENDOZA,                                Case No.: 14-CR-0199-L-3
12                                     Petitioner,
                                                         ORDER DENYING MOTION FOR
13   v.                                                  MODIFICATION OF TERM OF
                                                         IMPRISONMENT PURSUANT TO
14   UNITED STATES OF AMERICA,
                                                         18 U.S.C. § 3582(C)(2)
15                                  Respondent.
16
17         On January 23, 2015, Petitioner Luis Garcia-Mendoza (“Petitioner”), proceeding
18   pro se, filed a motion for relief of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19   Petitioner’s motion is based upon retroactive Amendment 782 of the United States
20   Sentencing Guidelines that pertain to drug trafficking offenses which became effective
21   November 1, 2016. The Government filed an opposition to the motion. For the reasons
22   set forth below, Petitioner’s motion is DENIED.
23                                       BACKGROUND
24         On May 21, 2014, Petitioner was sentenced to 60 months for one count of
25   Possession of Methamphetamine on a Vessel in violation of 46 U.S.C. §§ 70503 and
26   70506; and 60 months for one count of Possession of Marijuana on a Vessel in violation
27   of 46 U.S.C. §§ 70503 and 70506, to run concurrent. The Court found that the base
28   offense level was 38, with minus 3 for acceptance of responsibility, and that he was in a

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1    criminal history category I, therefore, the advisory Guidelines range was 168 to 210
2    months. Petitioner received a minus 4 for Fast Track, and an additional 6 level variance
3    under §3553(a) for an adjusted base offense level of 25. After considering the factors in
4    18 U.S.C. § 3553(a), the Court sentenced Petitioner to 60 months on each count to run
5    concurrently.
6                                          DISCUSSION
7          Petitioner now moves for a reduction of his sentence, pursuant to 18 U.S.C. §
8    3582(c)(2), based on Amendment 782 to the Sentencing Guidelines. Amendment 782
9    reduces the base offense level for drug trafficking offenses in § 2D1.1(c) of the
10   Sentencing Guidelines, by. See Amendment 782, Supplement to Appendix C,
11   Amendments to the Guidelines Manual. Petitioner falls within the purview of this
12   change.
13         A motion for reduction of sentence under § 3582(c)(2) “is simply a vehicle through
14   which appropriately sentenced prisoners can urge the court to exercise leniency to give
15   [them] the benefits of an amendment to the guidelines.” United States v. Townsend, 98
16   F.3d 510, 513 (9th Cir. 1996) (quoting United States v. Whitebird, 55 F.3d 1007, 1011
17   (5th Cir. 1995) (internal quotation marks omitted)). Whether to reduce a sentence under
18   § 3582(c)(2) is a discretionary decision. See 18 U.S.C. § 3582(c)(2) (“[T]he court may
19   reduce the term of imprisonment.”) (emphasis added); Townsend, 98 F.3d at 512 (“[T]he
20   decision whether to reduce a sentence under § 3582 is within the discretion of the district
21   court judge.”); United States v. Cueto, 9 F.3d 1438, 1440 (9th Cir. 1993) (“Courts have
22   discretion to reduce a previously imposed term of imprisonment when the Sentencing
23   Commission reduces the sentencing range, and the reduction is ‘consistent with
24   applicable policy statements issued by the Sentencing Commission.’ ”) (quoting 18
25   U.S.C. § 3582(c)(2)).
26         In determining whether a sentence should be modified following amendment of the
27   Guidelines, the Court should consider the term of imprisonment that it would have
28   imposed had the amendment to the Guidelines been in effect at the time the particular

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1    defendant was sentenced. U.S.S.G. § 1B1.10(b). In addition, the Court must consider the
2    18 U.S.C. § 3553(a) factors1 and the danger to the public created by any reduction in a
3    defendant’s sentence. Id. at cmt. n. 1(B). The Court may also consider the defendant’s
4    post-sentencing conduct. Id.
5           Applying the amended Guidelines, Petitioner’s new base offense level would now
6    be a 36, rather than a 38, and his adjusted offense level would be 33. Petitioner remains
7    in a criminal history category I. Neither the Fast Track departure nor the variances are
8    calculated in the amended guidelines. Therefore, the resulting applicable guideline range
9    is 135 to 168 months.
10          Petitioner’s offense in this case involved possession and transportation of
11   methamphetamine and marijuana in a boat from Sinaloa, Mexico to San Quentin,
12   Mexico. However, Petitioner played a minor role in the charged conduct and also
13   cooperated with the Government. At the time of his sentencing, Petitioner was a 34 year
14   old Mexican citizen, and had no criminal history.
15          When the Court previously considered the §3553(a) factors at Petitioner’s
16   sentencing, the Court believed that a below-Guideline sentence was appropriate. After
17   considering the §3553(a) factors anew, the danger to the public created by any reduction
18   in Petitioner’s sentence, the Court finds no further reduction in Petitioner’s sentence is
19   warranted. Petitioner’s original 60 month sentence for each count run concurrently is still
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22      Section 3553(a) directs a court to consider the following factors in determining the particular sentence
     to be imposed: “(1) the nature and circumstances of the offense and the history and characteristics of the
23   defendant; (2) the need for the sentence imposed: (A) to reflect the seriousness of the offense, to
     promote respect for the law, and to provide just punishment for the offense; (B) to afford adequate
24   deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant; and (D)
25   to provide the defendant with needed educational or vocational training, medical care, or other
     correctional treatment in the most effective manner; (3) the kinds of sentences available; (4) the kinds of
26   sentence and the sentencing range established for: (A) the applicable category of offense committed by
     the applicable category of defendant as set forth in the guidelines… (5) any pertinent policy statement…
27   (6) the need to avoid unwarranted sentence disparities among defendants with similar records who have
     been found guilty of similar conduct; and (7) the need to provide restitution to any victims of the
28   offense.” 18 U.S.C. § 3553(a).

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1    less than the low-end of the new Guideline range. The Court considers the originally
2    imposed sentence of 60 months for each count to run concurrent as the minimum
3    necessary to address Petitioner’s conduct, and thereby declines to reduce his sentence
4    further.
5                                         CONCLUSION
6           Based on all of the above considerations, Petitioner’s motion for a reduction in his
7    sentence is DENIED.
8          IT IS SO ORDERED.
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10   Dated: February 28, 2017
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15   COPIES TO:
16   PETITIONER
17   U.S. ATTORNEY’S OFFICE
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